                                                     State of New Jersey
                                                OFFICE OF THE ATTORNEY GENERAL
PHILIP D. MURPHY                             DEPARTMENT OF LAW AND PUBLIC SAFETY                                        MATTHEW J. PLATKIN
    Governor                                    OFFICE OF THE SOLICITOR GENERAL                                            Attorney General
                                                           PO BOX 080
TAHESHA L. WAY                                          TRENTON, NJ 08625                                              JEREMY M. FEIGENBAUM
  Lt. Governor                                                                                                              Solicitor General

                                                            March 5, 2025

          Lyle W. Cayce, Clerk of Court
          U.S. Court of Appeals for the Fifth Circuit
          600 S. Maestri Place, Suite 115
          New Orleans, LA 70130

                   Re:      National Association for Gun Rights, Inc. v. Bondi, No. 24-10707

          Dear Mr. Cayce:

                 Amici States write to notify the Court that Appellants have begun the process
          of returning confiscated forced reset triggers (“FRTs”) in light of the February 22,
          2025 return deadline imposed by the district court in the order on appeal. See ECF
          No. 126, National Association for Gun Rights v. Bondi, No. 23-830 (N.D. Tex.)
          (Feb. 19, 2025) (“Notice of Compliance”) (attached hereto as Exhibit A). The
          return of these weapons presents a significant and irreparable danger to public
          safety and underscores the need for a prompt ruling from this Court reversing the
          district court’s final judgment and order. Although Amici States are mindful that
          they lack party status in this case, they are writing to apprise the Court of this
          notable development.1

                Appellants’ Notice of Compliance confirms the significant challenges posed
          by the return requirement, including the Federal Government’s inability to identify
          the owners of confiscated FRTs. Id. at ¶¶ 2-5; see U.S. Appellant Br. 26-34.
          However, given the impending court-ordered deadline, Appellants have taken
          several steps to initiate a return process. See ECF No. 126 at ¶¶ 6-14. While it is
          unclear whether any FRT returns have been effectuated to this point, at least some

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    Amici States have advised the parties of their intent to submit this letter.




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returns appear imminent. As detailed in our amicus brief, the return of FRTs
presents a serious threat to the health, safety, and welfare of Amici States and their
residents, subjecting them to a greater risk of devastating gun violence and
associated law enforcement and health care costs. Moreover, although Appellants
promise not to return FRTs in the States that prohibit them, Appellants have not
provided any information regarding which States they believe are excluded—
potentially leaving Amici States at the mercy of the Federal Government’s
interpretations of their own state laws.

       Amici States respectfully submit that a prompt decision from this Court
reversing the district court’s order is needed to prevent the continued proliferation
of these dangerous devices.

                                 Respectfully yours,

                                 MATTHEW J. PLATKIN
                                 ATTORNEY GENERAL OF NEW JERSEY

                           By:    /s/ Jeremy M. Feigenbaum
                                 Jeremy M. Feigenbaum
                                 Solicitor General

cc: All counsel (via ECF)
Exhibit A
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION



    NATIONAL ASSOCIATION FOR GUN
    RIGHTS, INC., et al.,

                       Plaintiffs,
                                                        Case No. 4:23-cv-00830-O
             v.

    PAMELA BONDI, IN HER OFFICIAL
    CAPACITY AS ATTORNEY GENERAL
    OF THE UNITED STATES, et al.,1

                       Defendants.


                                     NOTICE OF COMPLIANCE

        Defendants respectfully submit this Notice of Compliance to inform the Court of actions

taken by the Defendants to comply with the Court’s July 24, 2024 Final Judgment, see ECF No. 101

(“Final Judgment”), as modified by the August 20, 2024 Order, see ECF No. 112 (“Order”).

        1.        The Final Judgment ordered Defendants, among other things, “to return to all parties,

including manufacturers, distributors, resellers, and individuals, all FRTs and FRT components

confiscated or seized pursuant to their unlawful classification within thirty (30) days of this decision.”

Final Judgment at 2.

        2.        On August 1, 2024, Defendants filed a Motion to Stay the Judgment Pending Appeal,

ECF No. 104, explaining, inter alia, that the Court’s return requirement “presents multiple compliance

problems,” ECF No. 105 at 2. As Defendants described, “ATF does not know the identities of the


1
 Pursuant to Federal Rule of Civil Procedure 25(d), Attorney General Pamela Bondi is automatically
substituted as a defendant in her official capacity for former Attorney General Merrick Garland.
Acting Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives Marvin Richardson is
automatically substituted as a defendant in his official capacity for former Director Steven Dettelbach.
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Organizational Plaintiffs’ claimed members, let alone which of those members is entitled to return of

their FRT devices.” Id. (citing ECF No. 104-1 at ¶ 5 (“Varisco Decl.”)). Therefore, “ATF has no ability

to determine who must be returned devices under the Order.” Id. Moreover, even if an individual self-

identifies as a member of an Organizational Plaintiff, “ATF does not have the means to verify the

accuracy of that representation, or whether they were, in fact, a member at the time the complaint was

filed, as is necessary to receive relief.” Id. (citing Varisco Decl. ¶ 5).

        3.       Additionally, as ATF explained, returns are time consuming and logistically

complicated. ATF has a high volume of FRT-15s and WOTS in its possession, which are located at

different points throughout the country. See id. at 3 (citing Varisco Decl. ¶ 6). To effectuate the returns,

ATF would have to determine which of those devices belong to Organizational-Plaintiff members—

presenting all the problems outlined in supra ¶ 2; run a background check to ensure that those members

are not otherwise prohibited persons who cannot legally own a firearm; and coordinate with the owner

and relevant field office where the device is held to arrange for the return. See ECF No. 105 at 3 (citing

Varisco Decl. ¶¶ 9-15).

        4.       ATF also identified other foreseeable scenarios where it “is not clear what ATF is to

do in such circumstances to avoid non-compliance.” Id. This includes “that some portion of Plaintiffs’

members will not be able to be located (e.g., because they have moved without forwarding information

or their mail is returned as undeliverable); will not respond to ATF’s outreach; will decline to accept

the return of their device(s), either because they do not want them or because they would prefer to

wait to see if this Court’s judgment is ultimately affirmed; or will be located in states where possession

or sale of the devices are illegal under state law.” Id.

        5.       While the Court denied Defendants’ Motion to Stay, it found the above-listed

“practical issues of complying” with the Final Judgment’s return requirement to be “well-taken,” and

thus “modif[ied] the deadline of the . . . return of F[RT]s in the final judgment” to “be completed by

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February 22, 2025.” Order at 14-15. However, the Court excepted from that modification

circumstances where “Individual Plaintiffs or members of the Organizational Plaintiffs . . . specifically

request the return of their FRT devices and provide sufficient documentation to the ATF.” Id. In

those circumstances, Defendants must effectuate the returns “as soon as is practicable following the

specific request.” Id.

        6.      Consistent with that Order, ATF developed and implemented a process for handling

returns of FRT-15s and WOTs when requested by an Individual Plaintiff or covered member of an

Organizational Plaintiff. See, e.g., ECF No. 118-1 at ¶¶ 7-8. However, ATF continues to face the same

administrability concerns outlined in its Stay Motion and above as to the February 22, 2025 deadline

for returns to unidentified members. Moreover, as described in the attached Second Declaration of

Matthew P. Varisco (“2d Varisco Decl.”), after the Supreme Court’s decision in Cargill v. Garland, 602

U.S. 406 (2024), ATF has been in the process of returning all non-mechanical bump stocks in its

custody to identified owners, which consumed a significant amount of the agency’s limited resources.

2d Varisco Decl. ¶ 10. ATF also sought to keep the two return processes separate to avoid any

confusion that may have resulted from comingling them. Id. Notwithstanding these practical issues,

ATF has undertaken, and continues to take, the following steps to ensure compliance with the Court’s

return requirements, as explained in the Second Varisco Declaration.

        7.      On January 16, 2025, ATF sent a notice (“Notice”) marked urgent to the leadership

of every ATF Field Division summarizing the Court’s orders in this case and, specifically, ATF’s return

obligations. Id. ¶ 11. The Notice directed that, to facilitate returns, each field division must provide a

point of contact to Field Management Staff by January 21, 2025, and search ATF’s case management

systems to identify all entries pertaining to FRT-15s and WOTs taken into ATF custody. Id. A follow

up meeting was held on January 29, 2025, with the identified points of contact, the Division Chief,




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Field Management Staff, and attorneys from the Office of Chief Counsel to provide further guidance

and respond to any questions. Id.

        8.      Because there was no “FRT” option regarding the description of these devices in

ATF’s case management systems, these devices were inconsistently labeled when entered into the

systems (e.g., FRT-15s and WOTs could be labeled as “FRTS,” “MCDs,” or “accessories”). Id. ¶ 12.

Accordingly, the Notice directed all field divisions to separately conduct a physical inventory of FRT-

15s and WOTs in their possession. Id. This physical inventory confirmed that the FRT-15s and WOTs

seized are still in ATF’s possession and identified any additional FRT-15s or WOTs that may be

secured in ATF’s vault. Id.

        9.      The Notice next directed the field divisions to determine which FRT-15s and WOTs

in physical inventory were seized as part of a criminal investigation with charges other than possession

of FRT-15s and WOTs in suspected violation of 18 U.S.C. § 922(o) (such as criminal investigations

into individuals prohibited from possessing firearms under 18 U.S.C. § 922(g) or criminal

investigations in which FRT-15s and WOTs were used in the commission of criminal activity) and

which devices were seized as part of a recall/abandonment. Id. ¶ 13. Devices associated with such

criminal cases will not be returned. Id.; see ECF No. 100 at 58 (“Summary Judgment Order”)

(“Defendants may still prosecute violations of otherwise lawful provisions of the NFA and GCA, as

well as other lawful firearms regulations.”); Final Judgment at 2 (requiring returns of FRT devices

“confiscated or seized pursuant to . . . [ATF’s] classification”). See also Summary Judgment Order at

58 (recognizing that “respect for coordinate courts also guides the scope of the relief awarded here”

and excluding from injunction “pending criminal cases since that would interfere with another

court”)).

        10.     The Notice then directed each supervisory special agent to prepare a list of FRT-15s

and WOTs in ATF custody, but not subject to a pending criminal investigation or case, and to record

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for each FRT-15/WOT: the possessor’s name; last known address; phone number; email address (if

known); case number; date of seizure; and item number. 2d Varisco Decl. ¶ 14. The Notice then

directed each supervisory special agent to provide that list to the field division’s point of contact on

or before February 10, 2025. Id. The field division point of contact was directed to consolidate those

lists so that each field division provides ATF’s Office of Chief Counsel with a single list by February

14, 2025. Id.

        11.     Upon receipt of this information, the ATF Office of Chief Counsel contacted the

owners of the FRT-15 and WOTs based on the last known contact information identified in the field

division lists. Id. ¶ 15. ATF advised them that ATF has possession of their FRT-15 or WOT and that,

consistent with the Court’s Final Judgment and Order, if they wish to obtain return of their device,

they must provide proof of membership in an Organizational Plaintiff at the time this suit was filed

to a designated ATF email address. Id. ATF began sending such notices on February 11, 2025, and, as

of the date of this filing, that notification process is complete. Id. ¶ 16.

        12.     Because this Court’s orders do not require ATF to return FRT-15s and WOTs to

persons prohibited from possessing firearms under 18 U.S.C. § 922(g), see ECF No. 100 at 60, a

background check will be run on those who provide requisite proof of membership to determine

whether they are entitled to a return of their FRT-15s or WOTs. 2d Varisco Decl. ¶ 18. The names of

those entitled to return of their FRT-15s and WOTs will then be filtered by state of residence at the

time of seizure and provided to the appropriate field division for those states, i.e. to the field divisions

likely to maintain possession of their device(s). Id. The field division will then process the property for

release through the field division chain of command. Id. ¶ 19. The field divisions will be reminded that

these releases are to be expedited. Id. Once the appropriate approvals occur, ATF’s Office of Chief

Counsel will reach out to the property owner and inform them who to contact to arrange the transfer.




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Id. ATF will not, however, return FRT-15s and WOTs in states where possession of FRT-15s and

WOTs is illegal under state law. Id.

        13.     ATF has also provided information regarding its FRT-15 and WOT return efforts on

its publicly available website, see ATF, “Rare Breed Triggers’ FRT-15 and Wide-Open Triggers

(WOTs) Return,” available at: https://www.atf.gov/firearms/rare-breed-triggers%E2%80%99-frt-

15s-and-wide-open-triggers-wots-return (last accessed Feb. 12, 2025), along with a dedicated email

address (FRT.Return@atf.gov) for affected parties to contact ATF about return of FRT-15s and

WOTs. 2d Varisco Decl. ¶ 17.

        14.     Finally, ATF is complying with the Court’s order requiring that it send remedial notices

to those who previously received ATF letters warning suspected FRT owners that possession of FRTs

and FRT components was illegal. Id. ¶¶ 9, 20-21. On February 12, 2025, each ATF Field Division was

directed to send a remedial notice to every recipient of an earlier warning notice and instructed that

such notice be postmarked by February 21, 2025. Id. ¶ 22. ATF also posted the remedial notice on its

website on February 13, 2025. Id. ¶ 23.


DATED: February 19, 2025
                                               Respectfully submitted,

                                               BRETT A. SCHUMATE
                                               Acting Assistant Attorney General

                                               ALEX HAAS
                                               Branch Director

                                               ANDREW I. WARDEN
                                               Assistant Director

                                               /s/ Laura B. Bakst
                                               LAURA B. BAKST
                                               MICHAEL P. CLENDENEN
                                               ALEXANDER W. RESAR
                                               Trial Attorneys
                                               Civil Division, Federal Programs Branch

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                                      U.S. Department of Justice
                                      1100 L Street, NW
                                      Washington, DC 20005
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                                      E-mail: Laura.b.bakst@usdoj.gov

                                      Counsel for Defendants




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                                       Certificate of Service

       On February 19, 2025, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                         /s/ Laura B. Bakst




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION



  NATIONAL ASSOCIATION FOR GUN
  RIGHTS, INC., et al.,

                     Plaintiffs,
                                                       Case No. 4:23-cv-00830-O
           v.

  PAMELA BONDI, IN HER OFFICIAL
  CAPACITY AS ATTORNEY GENERAL
  OF THE UNITED STATES, et al.,

                     Defendants.



                  SECOND DECLARATION OF MATTHEW P. VARISCO

 1.   I am the Assistant Director for the Office of Field Operations within the Bureau of Alcohol,

      Tobacco, Firearms, and Explosives (“ATF”), United States Department of Justice (“DOJ”). I

      have been in this position since March 2024. Prior to my current position, I was the Assistant

      Director for the Office of Enforcement Programs and Services (Regulatory Operations), the

      Special Agent in Charge of the Philadelphia Field Division, and I have served as an ATF

      Special Agent for over 24 years.

 2.   In my current senior executive position, I direct policy, conduct planning, and oversee all ATF

      criminal investigations and regulatory oversight for ATF’s 25 field divisions.

 3.   I am authorized to provide this Declaration on ATF’s behalf and am providing it in support of

      Defendants’ Notice of Compliance. This declaration is based on my personal knowledge and

      belief, my training and experience, as well as information conveyed to me by ATF personnel in

      the course of my official duties.


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 4.   After this Court issued its October 7, 2023 Preliminary Injunction, ATF promptly took

      significant steps to ensure compliance with this Court’s order. These steps are outlined in the

      Notice of Compliance filed in this case on October 20, 2023. See ECF No. 57.

 5.   On July 23, 2024, the Court granted summary judgment in favor of the Plaintiffs. In addition

      to continuing to enjoin the matters covered by its preliminary injunction, the Court also

      imposed affirmative obligations on ATF, including a requirement that ATF return certain

      FRTs in its possession within 30 days and “mail remedial notices correcting [ATF’s] prior

      mailing campaign that ‘warned’ suspected FRT owners that possession of FRTs and FRT

      components was purportedly illegal.” ECF No. 100 at 63.

 6.   On August 1, 2024, Defendants filed a Motion to Stay the Judgment Pending Appeal, ECF

      No. 104, explaining, among other things, that the Court’s return requirement “presents

      multiple compliance problems,” ECF No. 105 at 2. As I described in an earlier declaration,

      ATF does not know the identities of the Organizational Plaintiffs’ claimed members, or which

      of those members are entitled to return of their FRT devices. Id. (citing ECF No. 104-1 at ¶ 5

      (“Varisco Decl.”)). As a result, ATF is not able to determine who must be returned devices

      under the court’s Order. Id. Even if an individual self-identifies as a member of an

      Organizational Plaintiff, ATF would still face difficulties in ensuring compliance. For one,

      ATF does not have the means to verify the accuracy of a claimed membership or whether that

      membership was established at the time the complaint filed, as is necessary to receive relief. Id.

      (citing Varisco Decl. ¶ 5).

 7.   Complying with the return requirement presents other challenges as well. As I previously

      explained, returns are time consuming and logistically complicated. ATF has a high number of

      FRT-15s and WOTS in its possession, which are kept in ATF facilities throughout the

      country. See id. at 3 (citing Varisco Decl. ¶ 6). To effectuate the returns, ATF has to determine


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       which of those devices belong to Organizational-Plaintiff members—presenting all the

       problems outlined in above and in my prior declaration; run a background check to confirm

       that those members are not otherwise prohibited from legally owning a firearm; and

       coordinate with the owner and relevant field office where the device is located to arrange for

       the return. See id (citing Varisco Decl. ¶¶ 9-15).

 8.    On August 20, 2024, in response to concerns raised in Defendants’ Motion to Stay, see ECF

       No. 104, the Court issued an Order granting Defendants an additional six months to comply

       with the affirmative obligation regarding the return of FRT-15s and WOTs. See ECF No. 112.

       Additionally, the court similarly extended the deadline for ATF to “mail remedial notices.” Id.

 9.    Consistent with that Order, ATF has prepared remedial notices, which ATF has begun

       sending. ATF has also developed and implemented a process for effectuating returns of FRT-

       15s and WOTs when requested by an Individual Plaintiff or a covered member of an

       Organizational Plaintiff who provides ATF with evidence of a qualifying membership.

       However, ATF continues to face the administrability concerns outlined in its Stay Motion and

       in my prior and current declaration as to returns of FRT-15s and WOTs to unidentified

       members.

       The Return of FRT-15s and WOTS

 10.   In addition, after the Supreme Court’s decision in Cargill v. Garland, ATF has been in the

       process of returning all non-mechanical bump stocks in its custody to identified owners. This

       process consumed a significant amount of the agency’s already limited resources, and ATF

       believed keeping these return processes separate would be more efficient, as the parameters of

       the returns were different and it would avoid any confusion that could result by comingling the

       two different devices or possessors’ contact information.




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 11.   On January 16, 2025, ATF sent a notice (“Notice”) marked urgent to the leadership of every

       ATF Field Division summarizing the Court’s orders in this case and ATF’s return obligations.

       To facilitate returns, the Notice directs each field division to provide a point of contact to

       Field Management Staff by January 21, 2025, and to search ATF’s case management systems

       to identify all entries pertaining to FRT-15s and WOTs taken into ATF custody. A follow up

       meeting was held by Field Management Staff and the Office of Chief Counsel on January 29,

       2025, with the identified points of contact to provide further guidance regarding the returns

       process and obligations and to address any questions.

 12.   Because there is no “FRT” option when describing these devices upon entry into ATF’s case

       management systems, they are inconsistently labeled in the systems. For example, FRT-15s

       and WOTs could be labeled as “FRTs,” “MCDs,” or “accessories”. The Notice therefore

       directs all field divisions to separately conduct an additional physical inventory of FRT-15s and

       WOTs in their possession. This physical inventory will confirm the FRT-15s and WOTs

       seized are still in ATF’s possession and identify any additional FRT-15s or WOTs that may be

       secured in a vault maintained by ATF.

 13.   The Notice next directs the field divisions to determine which FRT-15s and WOTs in its

       physical inventory were seized as part of a criminal investigation with charges other than

       possession of FRT-15s and WOTs in suspected violation of 18 U.S.C. § 922(o) and which

       devices were seized as part of a recall/abandonment. The former category of devices could

       include those seized during criminal investigations into individuals prohibited from possessing

       firearms under 18 U.S.C. § 922(g) or criminal investigations in which FRT-15s and WOTs

       were used in the commission of criminal activity. Devices associated with criminal cases will

       not be returned. Relatedly, devices seized pursuant to search warrants or under the jurisdiction

       of other courts with regard to ongoing forfeiture matters will not be returned.


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 14.   The Notice then directs each supervisory special agent to prepare a list of FRT-15s and WOTs

       in ATF custody, but not subject to a pending criminal investigation or case, and to record for

       each FRT-15/WOT: the possessor’s name; last known address; phone number; email address

       (if known); case number; date of seizure; and item number. The Notice then directs each

       supervisory special agent to provide that list to the field division’s point of contact by February

       10, 2025. The field division point of contact is directed to consolidate those lists so that each

       field division provides ATF’s Office of Chief Counsel with a single list by February 14, 2025.

 15.   Upon receipt of this information, the ATF Office of Chief Counsel will contact via Fed Ex the

       owners of the FRT-15 and WOTs based on the last known contact information identified in

       the field division lists. In the event the address is for a P.O. Box, ATF will send the

       notification via certified mail. ATF will advise recipients that ATF has possession of their

       FRT-15 or WOT and that, consistent with the Court’s Final Judgment and Order, if they wish

       to obtain return of their device, they must provide proof of membership in an Organizational

       Plaintiff at the time this suit was filed to a designated ATF email address.

 16.   ATF began sending notifications on February 11, 2025. As of the date of this filing, the

       notification process is complete.

 17.   Additionally, on February 10, 2025, ATF posted on its public website that it had begun

       sending notices to owners of FRT-15s and WOTs that were seized by ATF as part of an

       earlier recall effort with instructions to request their return, if the owner of the device is

       covered by the Court’s orders. See ATF, “Rare Breed Triggers’ FRT-15 and Wide-Open

       Triggers (WOTs) Return,” available at: https://www.atf.gov/firearms/rare-breed-

       triggers%E2%80%99-frt-15s-and-wide-open-triggers-wots-return (last accessed Feb. 12, 2025).

       The website also provides a dedicated email address (FRT.Return@atf.gov) for affected parties

       to contact ATF about return of FRT-15s and WOTs.


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 18.   Because this Court’s orders do not require ATF to return FRT-15s and WOTs to persons

       prohibited from possessing firearms under 18 U.S.C. § 922(g), a background check will be run

       on those who provide appropriate proof of membership to determine whether they are

       entitled to a return of their FRT-15s or WOTs. The names of those entitled to return of their

       FRT-15s and WOTs will then be filtered by state of residence at the time of seizure and

       provided to the appropriate field division for those states, which is the field division most

       likely to maintain possession of the device(s).

 19.   The field division will then process the property for release through the field division chain of

       command. The field divisions will be reminded that these releases are to be expedited. Once

       the appropriate approvals occur, ATF’s Office of Chief Counsel will promptly reach out to the

       property owner and inform them who to contact to arrange the transfer. ATF will not,

       however, return FRT-15s and WOTs in states where possession of FRT-15s and WOTs is

       illegal under state law.

       The Remedial Notice

 20.   Consistent with the Court’s orders, ATF is also sending remedial notices to all recipients of

       ATF’s prior warning letters regarding FRTs. All recipients of the above-referenced return

       notices will also receive a remedial notice in the same mailing.

 21.   The remedial notice reiterates this Court’s holding that FRT-15s and WOTs are not

       machineguns under the National Firearms Act and, as such, their possession is not in violation

       of Federal law. The notice also clarifies that any duty to notify ATF of possession of FRT-15s

       and WOTs, or their components, as stated in the original warning notices no longer applies.

 22.   On February 12, 2025, each ATF Field Division was instructed to send a remedial notice to

       every recipient of the earlier warning notices and directed that such notice be postmarked by

       February 21, 2025.


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 23.   On February 13, 2025, ATF posted the remedial notice on its website.



 Executed on February 19, 2025.



                                                             ______________________________
                                                             Matthew P. Varisco
                                                             Assistant Director




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